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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST LITIGATION                      Civil No. 18-cv-1776 (JRT/HB)

                                                     CONSUMER INDIRECT
                                                     PURCHASER PLAINTIFFS’
                                                     NOTICE OF SETTLEMENT WITH
                                                     SMITHFIELD FOODS, INC.


This Document Relates to:

All Consumer Indirect Purchaser Actions


                                NOTICE OF SETTLEMENT

          Consumer Indirect Purchaser Plaintiffs respectfully write to the Court to provide

notice that Consumer Indirect Purchaser Plaintiffs have reached an agreement with

Defendant Smithfield Foods, Inc. (“Smithfield” and together with Consumer Indirect

Purchaser Plaintiffs, the “Parties”) to settle all claims against Smithfield. This agreement

is subject to the Court’s approval pursuant to Federal Rule of Civil Procedure 23.

Consistent with the Parties’ agreement, Consumer Indirect Purchaser Plaintiffs will move

for preliminary – and ultimately, final – approval of a proposed settlement in the near

future.




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Dated: August 5, 2022                 HAGENS BERMAN SOBOL SHAPIRO LLP

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